Case 4:20-cv-00068-RWS-CMC Document 47 Filed 11/21/19 Page 1 of 6 PageID #: 1629



                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION


   JUAN LOZADA-LEONI,

                   Plaintiff,

                            v.                                Civil Action No. 5:19-cv-00011-RWS-CMC
   MONEYGRAM INTERNATIONAL, INC.,
                                                              JURY TRIAL DEMANDED
   JUAN MANUEL GONZALEZ and
   CHRISTOPHER PONDER in their official
   and individual capacities,

                   Defendants.
                                   DOCKET CONTROL ORDER

         Before the Court is the parties' Joint Motion for Entry of Agreed Docket Control Order

  (Dkt. No. 46). The Court is of the opinion the motion should be GRANTED. It is hereby

  ORDERED the following schedule of deadlines is in effect until further order of this Court:
   3 DAYS after          Parties to file Motion to Seal Trial Exhibits, if they wish to seal any
   conclusion of Trial   highly confidential exhibits.

                                 EXHIBITS: See Order below regarding exhibits.
    June 22, 2020                9:00 a.m. JURY TRIAL before Judge Robert W. Schroeder III,
                                 Texarkana, Texas.

                                 For planning purposes, parties shall be prepared to start the
                                 evidentiary phase of trial immediately following jury selection.
    June 22, 2020                9:00 a.m. JURY SELECTION before Judge Robert W. Schroeder
                                 III, Texarkana, Texas.
    June 9, 2020                 10:00 a.m. PRETRIAL CONFERENCE before Judge Caroline
                                 M. Craven, Texarkana, Texas.

                                 All pending motions will be heard.
                                 Lead trial counsel must attend the pretrial conference.
    June 2, 2020
                                 File a Notice of Time Requested for (1) voir dire, (2) opening
                                 statements, (3) direct and cross examinations, and (4) closing
                                 arguments.
    June 2, 2020
                                 File Responses to Motions in Limine.

                                                Page 1 of 6
Case 4:20-cv-00068-RWS-CMC Document 47 Filed 11/21/19 Page 2 of 6 PageID #: 1630



    May 26, 2020        File Motions in Limine and pretrial objections


                        The parties are ORDERED to meet and confer to resolve any disputes
                        before filing any motion in limine or objection to pretrial disclosures.
    May 26, 2020        File Joint Final Pretrial Order, Joint Proposed Jury Instructions
                        with citation to authority and Form of the Verdict for jury trials.

                        Parties shall use the pretrial order form on Judge Schroeder’s website.

                        Proposed Findings of Fact and Conclusions of Law with citation to
                        authority for issues tried to the bench.
     May 19, 2020       Exchange Objections to Rebuttal Deposition Testimony.
     May 12, 2020       Notice of Request for Daily Transcript or Real Time Reporting of
                        Court Proceedings due.

                        If a daily transcript or real time reporting of court proceedings is
                        requested for trial or hearings, the party or parties making said request
                        shall file a notice with the Court.
     May 12, 2020       Exchange Rebuttal Designations and Objections to Deposition
                        Testimony.

                        For rebuttal designations, cross examination line and page numbers to
                        be included.

                        In video depositions, each party is responsible for preparation of the
                        final edited video in accordance with their parties’ designations and
                        the Court’s rulings on objections.
     April 28, 2020     Exchange Pretrial Disclosures (Witness List, Deposition
                        Designations, and Exhibit List).

                        Video and Stenographic Deposition Designation due. Each party who
                        proposes to offer deposition testimony shall serve a disclosure
                        identifying the line and page numbers to be offered.




                                        Page 2 of 6
Case 4:20-cv-00068-RWS-CMC Document 47 Filed 11/21/19 Page 3 of 6 PageID #: 1631



    MARCH 9, 2020            Any Remaining Dispositive Motions due from all parties and any
                             other motions that may require a hearing (including Daubert
                             motions).

                             Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                             Motions to extend page limits will only be granted in exceptional
                             circumstances.

                             For each motion filed, the moving party SHALL provide the Court
                             with one (1) copy of the completed briefing (opening motion,
                             response, reply, and if applicable, surreply), excluding exhibits, in a
                             three-ring binder appropriately tabbed. All documents shall be
                             double-sided and must include the CM/ECF header. These copies
                             shall be delivered to Judge Schroeder’s chambers in Texarkana as
                             soon as briefing has completed.

                             Respond to Amended Pleadings.
    March 2, 2020            Parties to Identify Rebuttal Trial Witnesses.
    February 24, 2020        Parties to Identify Trial Witnesses; Amend Pleadings.

                             It is not necessary to file a Motion for Leave to Amend before the
                             deadline to amend pleadings. It is necessary to file a Motion for Leave
                             to Amend after the deadline.
    February 17, 2020        Discovery Deadline.
    January 27, 2020         Document Production Deadline
    January 27, 2020         Parties designate rebuttal expert witnesses, rebuttal expert witness
                             reports due. Refer to Local Rules for required information.

                             If, without agreement, a party serves a supplemental expert report
                             after the rebuttal expert report deadline has passed, the serving party
                             must file notice with the Court stating service has occurred and the
                             reason why a supplemental report is necessary under the
                             circumstances.
    January 13, 2020         Parties with burden of proof designate expert witnesses. Expert
                             witness reports due. Refer to Local Rules for required information.
    5-6 Days                 EXPECTED LENGTH OF TRIAL


         In the event that any of these dates fall on a weekend or Court holiday, the deadline is
  modified to be the next Court business day.

          The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
  failure to oppose a motion in the manner prescribed herein creates a presumption that the party

                                             Page 3 of 6
Case 4:20-cv-00068-RWS-CMC Document 47 Filed 11/21/19 Page 4 of 6 PageID #: 1632



  does not controvert the facts set out by movant and has no evidence to offer in opposition to the
  motion.”

          A party may request an oral hearing on a motion filed with the Court. Any such request
  shall be included in the text or in a footnote on the first page of the motion or any responsive
  pleading thereto. The Court does not hold telephonic hearings absent unusual circumstances.


                                             Other Limitations

     (a)     The following excuses will not warrant a continuance or justify a failure to comply
             with the discovery deadline:
               (i) The fact that there are motions for summary judgment or motions to dismiss;
              (ii) The fact that one or more of the attorneys is set for trial in another court on the
                      same day, unless the other setting was made prior to the date of this order or
                      was made as a special provision for the parties in the other case;
             (iii) The failure to complete discovery prior to trial, unless the parties can
                      demonstrate that it was impossible to complete discovery despite their good
                      faith effort to do so.
     (b)     Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
             the DCO shall take the form of a motion to amend the DCO. The motion shall include
             a chart in the format of the DCO that lists all of the remaining dates in one column (as
             above) and the proposed changes to each date in an additional adjacent column (if there
             is no change for a date the proposed date column should remain blank or indicate that
             it is unchanged). The motion to amend the DCO shall also include a proposed DCO in
             traditional two-column format that incorporates the requested changes and that also
             lists all remaining dates. In other words, the DCO in the proposed order should be
             complete such that one can clearly see all the remaining deadlines rather than needing
             to also refer to an earlier version of the DCO.
     (c)     Motions in Limine: Each side is limited to one (1) motion in limine addressing no more
             than ten (10) disputed issues. In addition, the parties may file a joint motion in limine
             addressing any agreed issues. The Court views motions in limine as appropriate for
             those things that will create the proverbial “skunk in the jury box,” e.g., that, if
             mentioned in front of the jury before an evidentiary ruling can be made, would be so
             prejudicial that the Court could not alleviate the prejudice with an appropriate
             instruction. Rulings on motions in limine do not exclude evidence, but prohibit the
             party from offering the disputed testimony prior to obtaining an evidentiary ruling
             during trial.
     (d)     Exhibits: Each side is limited to designating 250 exhibits for trial absent a showing of
             good cause. The parties shall use the exhibit list sample form on Judge Schroeder’s
             website.


                                              Page 4 of 6
Case 4:20-cv-00068-RWS-CMC Document 47 Filed 11/21/19 Page 5 of 6 PageID #: 1633



       (e)         Deposition Designations: Each side is limited to designating no more than ten (10)
                   hours of deposition testimony for use at trial absent a showing of good cause. As trial
                   approaches, if either side needs to designate more than ten (10) hours, the party may
                   file a motion for leave and show good cause. All depositions to be read into evidence
                   as part of the parties’ case-in-chief shall be EDITED so as to exclude all unnecessary,
                   repetitious, and irrelevant testimony; ONLY those portions which are relevant to the
                   issues in controversy shall be read into evidence.
       (f)         Witness Lists: The parties shall use the witness list sample form on Judge Schroeder’s
                   website.


             ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

  A.         On the first day of trial, each party is required to have:

             (1)      One copy of their respective original exhibits on hand. Each exhibit shall be
                      properly labeled with the following information: Identified as either Plaintiff’s or
                      Defendant’s Exhibit, the Exhibit Number and the Case Number.
             (2)      Three hard copies of each party’s exhibit list and witness list on hand.
             (3)      One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This shall
                      be tendered to the Courtroom Deputy at the beginning of trial.

  B.         The parties shall follow the process below to admit exhibits.

             (1) On the first day of trial, each party shall tender a preadmitted list of exhibits it plans to
                 admit into evidence. This list shall include all exhibits which are NOT objected to or
                 to which the Court has already overruled an objection. To the extent there are exhibits
                 with outstanding objections for which the parties need a ruling from the Court, those
                 exhibits should be separately included on the list and designated accordingly to reflect
                 a pending objection. Parties shall entitle the list “[Plaintiff’s/Defendant’s] List of
                 Preadmitted Exhibits.” If, during the course of the day’s testimony, a party wishes to
                 offer an objected exhibit into evidence, the party may move for admission at the time
                 it wishes to use that exhibit with a witness. The Court will then hear the opposing
                 party’s objection and will rule on the objection at that time.

             (2) On each subsequent day of trial, the Court will commence by formally admitting all of
                 the exhibits that were either unobjected to or allowed over objection and used during
                 the previous day’s trial. The Court will ask for these exhibits to be read into the record
                 and formally admitted into evidence at the beginning of that trial day. These will be the
                 exhibits deemed admitted at trial. The parties shall keep a separate running list of all
                 exhibits admitted throughout the course of trial.

             (3) At the conclusion of evidence, each party shall read into the record any exhibit that was
                 used but not previously admitted during the course of trial and then tender its final list
                 of every admitted exhibit, entitled “[Plaintiff’s/Defendant’s] Final List of All Admitted
                 Exhibits.” To the extent there are exhibits that were not admitted during the course of

                                                    Page 5 of 6
Case 4:20-cv-00068-RWS-CMC Document 47 Filed 11/21/19 Page 6 of 6 PageID #: 1634



                trial, but for which there is agreement that they should be provided to the jury, the
                parties must inform the Court of those exhibits at the conclusion of evidence. The Court
                will then determine whether those exhibits will be allowed into the jury room for
                deliberations.

     C.   At the conclusion of evidence, each party shall be responsible for pulling those exhibits
          admitted at trial and shall tender those to the Courtroom Deputy, who will verify the
          exhibits and tender them to the jury for their deliberations. One representative from each
          side shall meet with the Courtroom Deputy to verify the exhibit list.
 .
     D.   At the conclusion of trial, all boxes of exhibits shall be returned to the respective parties
          and the parties are instructed to remove these exhibits from the courtroom.

     E.   Within five business days of the conclusion of trial, each party shall submit to the
          Courtroom Deputy:

          (1)      A Final Exhibit List of Exhibits Admitted During Trial in Word format.
          (2)      Two CDs containing admitted unsealed trial exhibits in PDF format. If the Court
                   ordered any exhibits sealed during trial, the Sealed Exhibits shall be submitted on
                   a separate CD. If tangible or over-sized exhibits were admitted, such exhibits shall
                   be substituted with a photograph in PDF format.
          (3)      A disk containing the transcripts of Video Depositions played during trial, along
                   with a copy of the actual video deposition.

          SIGNED this 21st day of November, 2019.




                                                         ____________________________________
                                                         CAROLINE M. CRAVEN
                                                         UNITED STATES MAGISTRATE JUDGE




                                                 Page 6 of 6
